Case 24-30760         Doc 17-3     Filed 04/18/24 Entered 04/18/24 14:10:29               Desc Proof of
                                       Service Page 1 of 2



                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MINNESOTA


 In re:                                                Case No. 24-30760
                                                       Chapter 7
 Minnesota Implant Center, P.L.L.C.,

                       Debtor.


                              UNSWORN CERTIFICATE OF SERVICE


           I declare under penalty of perjury that on April 18, 2024, I served copies of the following:

          1.     Notice of Hearing and Motion for Order Authorizing Examinations and Related
                 Document Production Pursuant to Rule 2004;

          2.     Memorandum of Law Supporting the Trustee’s Motion for Order Authorizing 2004
                 Examinations;

          3.     Proposed Order; and

          4.     Unsworn Certificate of Service

by sending true and correct copies to the following parties:

VIA U.S. Mail

C T Corporation System
c/o The Corporation Trust Company, Registered Agent
Corporation Trust Center 1209 Orange St
Wilmington, DE 19801

C T Corporation System
Attn: John Weber, President
330 N Brand Blvd, Ste 700
Glendale, CA 91203

Wolters Kluwer United States, Inc.
c/o The Corporation Trust Company, Registered Agent
Corporation Trust Center 1209 Orange St
Wilmington, DE 19801

Wolters Kluwer United States, Inc.
Attn: Nancy McKinstry, CEO
2700 Lake Cook Rd
Riverwoods, IL, 60015-386
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                                  Service Page 2 of 2




Executed on: April 18, 2024                   Signed: s/ Sarah Gelhar
                                                       Sarah Gelhar, Legal Assistant
                                                       Manty & Associates, P.A.
                                                       150 South Fifth Street #3125
                                                       Minneapolis, MN 55402
                                                       612-465-0990
                                                       sarah@mantylaw.com
